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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

SAVE OUR COUNTY, INC.,                        )   CIVIL ACTION NO. 4:16-CV-1544-BYP
                                              )
Plaintiff,                                    )
                                              )   JUDGE BENITA Y. PEARSON
v.                                            )
                                              )   STIPULATION AND ORDER OF
HERITAGE THERMAL SERVICES,                    )   DISMISSAL WITH PREJUDICE
INC.,                                         )
                                              )
Defendant.                                    )
                                              )
                                              )


        Now come the Parties, by and through their duly authorized counsel, and pursuant to

Federal Rule of Civil Procedure 41(a)(1), hereby stipulate to dismiss the above-captioned matter

with prejudice, with each party bearing their own attorneys fees and costs.

Dated: May 30, 2017

__/s/ James Yskamp________________                    _/s/ Olivia D. Lucas_________
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                                            ORDER

       Having considered the Parties’ Stipulation, it is hereby ORDERED that all of the

Plaintiff’s claims against Heritage Thermal Services, Inc. are dismissed with prejudice, with each

party to bear their own attorneys fees and costs.



Date: __________________                                ________________________________
                                                        The Honorable Benita Y. Pearson
                                                        United States District Judge




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                                 CERTIFICATE OF SERVICE

    I, James Yskamp, hereby certify that a true and correct copy of the foregoing was filed
electronically on May 30, 2017. Notice of this filing will be sent to all registered parties by
operation of the Court’s electronic filing system. Parties may access this filing through the
Court’s system.




Date: May 30, 2017                             By: _/s/ James Yskamp_________
                                                    James Yskamp




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